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 4                                       UNITED STATES DISTRICT COURT
                                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 5

 6     J&J SPORTS PRODUCTIONS, INC                       )
                                                         )
 7                     Plaintiff,      vs.               )   Case No.: 8:10-CV-01846-WDK-FMO
                                                         )
 8     CYNTHIA CHON NGUYEN, et al,                       )   RENEWAL OF JUDGMENT BY CLERK
                                                         )
 9                 Defendant,                            )
                                                         )
10
       Based upon the application for renewal of the judgment of the original judgment, and pursuant to
11
       F.R.C.P. 69(a) and C.C.P. §683.110 through §683.320, and for good cause appearing therefore,
12
          Judgment in favor of Plaintiff, J&J Sports Productions, Inc, and against Defendant, Cynthia Chon
13
       Nguyen, an individual d/b/a Café Gossip, entered on January 6, 2012, be and the same is hereby
14
       renewed in the amounts as set forth below:
15
              Renewal of money judgment
16
                      a. Total judgment                                $     3,830.00
17
                      b. Costs after judgment                          $        00.00
18
                      c. Subtotal (add a and b)                        $     3,830.00
19
                      d. Credits                                       $        78.53
20
                      e. Subtotal (subtract d from c)                  $     3,751.47
21
                      f.   Interest after judgment(.12%)               $        45.53
22
                      g. Fee for filing renewal of application         $        00.00
23
                      h. Total renewed judgment (add e, f and g) $          3,797.00
24

25
       Dated: December 6, 2021                CLERK, by Deputy _________________________
26                                            Kiry A. Gray,
                                              Clerk of U.S. District Court
27

28




                                               Renewal of Judgment
